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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


HAYNES LIFE FLIGHT, LLC,             )
                                     )
       Plaintiff,                    )
                                     )         CIVIL ACTION NO.
       v.                            )           2:19cv427-MHT
                                     )                (WO)
METRO AVIATION, INC.,                )
                                     )
       Defendant.                    )

                                 JUDGMENT

      The court having been informed that this cause is

now settled, it is the ORDER, JUDGMENT, and DECREE of

the     court    that    this    lawsuit     is    dismissed      in      its

entirety with prejudice, with the parties to bear their

own costs and with leave to the parties, within 49

days, to stipulate to a different basis for dismissal

or to stipulate to the entry of judgment instead of

dismissal, and with leave to any party to file, within

49 days, a motion to have the dismissal set aside and

the case reinstated or the settlement enforced, should

the settlement not be consummated.
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    It is further ORDERED that all outstanding motions

are denied as moot.

    The clerk of the court is DIRECTED to enter this

document   on   the    civil     docket    as   a   final     judgment

pursuant   to   Rule   58   of    the   Federal     Rules    of   Civil

Procedure.

    This case is closed.

    DONE, this the 30th day of June, 2020.



                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
